            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION

                        CRIMINAL NO. 1:00CR6-1


UNITED STATES OF AMERICA                 )
                                         )
                                         )
             VS.                         )           ORDER
                                         )
                                         )
CLARK PROCTOR, JR.                       )
                                         )


      THIS MATTER is before the Court on the Defendant’s motion, filed

March 5, 2007, for the return of property and the Government’s response

thereto.

      The Defendant was indicted on February 10, 2000, and charged with

being involved in a conspiracy to possess with intent to distribute cocaine

base which allegedly began in August 1996. After trial, the undersigned

sentenced him to 360 months imprisonment. Judgment in a Criminal

Case, filed January 17, 2001. On appeal, his conviction and sentence

were affirmed. United States v. Proctor, 34 F. App’x 902 (4th Cir. 2002).

The Defendant subsequently moved to vacate, set aside or correct his

sentence, a motion which was denied by the undersigned. See, Motion to




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Vacate pursuant to 28 U.S.C. § 2255, filed May 5, 2003; Memorandum

and Order, Judgment, filed October 21, 2003. His attempt to appeal that

denial was unsuccessful. United States v. Proctor, 97 F. App’x 458 (4th

Cir. 2004).

     On March 5, 2007, over seven years after he was indicted, the

Defendant has moved for the return of $6,010.00 in currency which was

seized during a search of the residence of Maggie Logan, a co-defendant

in this case. The Defendant claims that the money was rightfully his,

having been given to him as rent for a business which he owned with Billy

Kee. The Defendant also acknowledges that he claimed ownership of the

money but does not disclose that he did so in the context of a formal

proceeding. The Defendant finally claims that an officer of the Isothermal

Narcotics Task Force, which executed the search warrant, was later

investigated in connection with the disappearance of seized funds. It is not

alleged that the funds at issue were involved.

     In response, the Government discloses that the Drug Enforcement

Administration (DEA) initiated an administrative forfeiture in August 1996;

the Defendant received actual notice of the forfeiture and appeared in the

proceeding with counsel, but it was determined that the Defendant’s claim



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was untimely. A declaration of administrative forfeiture was issued on

December 3, 1996. In May 1997, the DEA denied the Defendant’s petition

for remission or mitigation and the Defendant took no further action

thereafter.

      Rule 41(e) provides that a person aggrieved by an unlawful
      search and seizure may move the district court for return of the
      property on the ground that such person is entitled to lawful
      possession of the property. A Rule 41(e) motion is unavailable,
      however, when property is retained pursuant to civil forfeiture
      instead of for use as evidence.

United States v. Eubanks, 169 F.3d 672, 674 (11th Cir. 1999) (citations

omitted). In fact, “federal common law consistently has held that federal

courts lack jurisdiction to review the merits of a forfeiture decision that [an

agency] has reached in the exercise of [its] discretion.” Matter of Sixty

Seven Thousand Four Hundred Seventy Dollars ($67,470.00), 901 F.2d

1540, 1543 (11th Cir. 1990); Mesa Valderrama v. United States, 417 F.3d

1189 (11th Cir. 2005).

      IT IS, THEREFORE, ORDERED that the Defendant’s motion for

return of property is hereby DENIED.




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                                 Signed: April 5, 2007




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